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 8                                 UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11    STATE OF CALIFORNIA, et al.,                     No. 2:13-cv-02069-KJM-DB
12                       Plaintiffs,
13           v.
14    UNITED STATES DEPARTMENT OF
      LABOR, et al.,
15
                         Defendants.
16
      ___________________________________
17                                                     No. 2:20-cv-00953-JAM-KJN
      AMALGAMATED TRANSIT UNION,
18    INTERNATIONAL, et al.,
19                       Plaintiffs,                   RELATED CASE ORDER
20           v.
21    UNITED STATES DEPARTMENT OF
      LABOR, et al.,
22
                         Defendants.
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25                  Examination of the above-captioned actions reveals that they are related within the
26   meaning of Local Rule 123(a). Here, “both actions involve similar questions of fact and the same
27   question of law and their assignment to the same Judge or Magistrate Judge is likely to effect a
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 1   substantial savings of judicial effort.” Local Rule 123(a)(3). Accordingly, the assignment of
 2   these matters to the same judge is likely to effect a substantial savings of judicial effort and is
 3   likely to be convenient for the parties.
 4                  The parties should be aware that relating cases under Rule 123 causes the actions
 5   to be assigned to the same judge – it does not consolidate the actions. Under Rule 123, related
 6   cases are generally assigned to the judge and magistrate judge to whom the first filed action was
 7   assigned.
 8                  As a result, it is hereby ORDERED that 2:20-cv-00953-JAM-KJN is reassigned
 9   from District Judge John A. Mendez to the undersigned and from Magistrate Judge Kendall J.
10   Newman to Magistrate Judge Deborah Barnes. Henceforth, the caption on documents filed in the
11   reassigned case shall be shown as: 2:20-cv-00953-KJM-DB.
12                  It is further ORDERED that the Clerk of the Court make appropriate adjustment in
13   the assignment of civil cases to compensate for this reassignment.
14                  IT IS SO ORDERED.
15   DATED: June 2, 2020.
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